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                            UNITED STATES DISTRICT COURT

                                   DISTRICT OF OREGON

                                    PORTLAND DIVISION

UNITED STATES OF AMERICA                             3:24-cr-00081-IM
                v.                                   INDICTMENT

TAEZHON TYREIK KELLY,                                18 U.S.C. § 1959(a)(l) and 18 U.S.C. §2
 a/k/a "Young Tyckoon,"                              18 U.S.C. §924(c)(l)(A)(iii) and 18 U.S.C.
 a/k/a "Y.T."                                        §2
ANTHONY DEVION BAGSBY,                               18 U.S.C. §924G) and 18 U.S.C. §2
 a/k/a "Astro,"
 a/k/a "Thing 1,"                                    Forfeiture Allegation
COCOA DALONTA TAPLIN,
 a/k/a "Menace,"                                     UNDER SEAL
 a/k/a "Thing 2,"
DELANE WILLIAM ROY,
 a/k/a "Scrawny,"

                Defendants.


                               THE GRAND JURY CHARGES:

                                          The Enterprise

       1.       At all times relevant to this Indictment, the Hoover Criminal Gang (the Hoovers),

was a criminal street gang whose members engaged in acts of violence involving acts of murder,

assault, robbery, and sex trafficking, as well as engaged in narcotics trafficking, and which

operated in Oregon, California, Washington, and elsewhere.




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        2.       The Hoovers originated in Los Angeles, California, in the late 1960s and were

comprised of nine participating organizations, commonly referred to as "sets." The Hoovers

originally formed as a Crip set, known as the Hoover Crips, but the Hoovers broke away and

took on its current identity as the "Hoover Criminal Gang" in the late 1990s, and ultimately

changed its affiliation to a rival of the Crips.

        3.       The Hoovers established a presence in the Portland, Oregon area in the early

1980s and were mainly comprised of two sets, the Hoover 107 and the 74 Hoover. In Oregon,

Hoover 107 and 74 Hoover often refer to themselves as the "1074 Hoover" to show their

common identity as the Hoovers.

       4.        In Portland, Oregon, the Hoovers maintained several long-standing alliances with

other street gangs. This included a partnership with an original Blood set in Portland, the

Unthank Park Hustlers. This partnership was memorialized by multiple members referring to

both gangs together as "Hoovthank." A second partnership of the Portland Hoovers was with the

Inglewood Family Bloods. The Hoovers' relationship with both of these Blood sets also was

comprised of multi-generational families whose members belonged to the Hoovers and the Blood

sets. A more recent partnership occurred between the Hoovers and the Young Come Up's

(YCU). YCU gang members are primarily of Somalian decent and joined up with the Hoovers

due to their willingness to commit violence. Members of the Unthank Park Hustlers, the

Inglewood Family Bloods and the YCU's routinely conducted criminal activities in association

with and in support of, members of the Hoover Criminal Gang.

        5.       The Hoovers developed rivalries with the local Crip sets, including the Portland

original Kerby Blocc Crips, Columbia Villa Crips, and Mafia Style Crips. The Hoovers also

maintained rivalries with several Los Angeles based Crip sets including the Rollin' 60's, Six-

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Deuce East Coast Crips, and the Imperial Village Crips. And while the Hoovers were partnered

with some Blood sets, they also considered some Portland original Blood sets as enemies,

including the Woodlawn Park Bloods and the Loc'd Out Pirus.

       6.       The Hoovers referred to themselves as "EBK" and "ABK." These acronyms

stood for "Every Body Killers" and "Any Body Killers."

       7.       The Hoovers had a loose hierarchical structure in which members were not given

specific ranks, but carried different amounts of power and influence based on age and gang

activity. Older gang members who gained the highest influence and status were often referred to

as Original Gangsters (OGs). Original Gangsters were often referred to as "shot callers," and

had the authority to order younger members to commit violent acts. One level below the

Original Gangster was the status of the Gangster. Below Gangsters were Tiny Gangsters. Baby

Gangsters were the youngest Hoover members.

       8.       Members of the Hoovers used nicknames and monikers to demonstrate

membership within the enterprise. Senior members, called "big homies," adopted younger

members, called "little homies," to conduct business and violence on behalf of the gang. Senior

members passed down versions of their moniker to junior members of the enterprise. Senior

members often used the term "big" before their moniker. Less senior members often used the

term "lil'" before their moniker. Less senior members often used the term "baby," "tiny" or

''young" before their moniker.

       9.       To gain membership into the gang, the Hoovers used an initiation process known

as "jumping in," in which Hoover members physically beat new recruits for 74 seconds or 107

seconds, depending on the Hoover set the new recruit was invited to join.



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        10.    To maintain status and increase one's position in the gang, Hoovers were

expected to carry out violence on behalf of the enterprise. Participation in violent criminal

activity by a member or associate increased the respect accorded to that member or associate and

resulted in that member or associate maintaining or increasing his status and position within the

enterprise. Likewise, a member's or associate's refusal to carry out orders from higher-ranking

members, or refusal to participate in criminal activity or acts of violence, decreased the respect

accorded to that member or associate, and resulted in decreasing that member's or associate's

status in the Hoover Criminal Gang and subjected the member or associate to acts or threatened

acts of violence. Younger Hoovers were often provided firearms by more senior Hoovers to

shoot gang rivals in order to gain clout, respect, and power within the gang and instill fear in

rival gang members. Members of the Hoovers primarily engaged in violence to earn the respect

of other Hoover members, as well as the respect of allies and rivals. The Hoovers were required

to use violence to retaliate against any perceived slight and in response to any violence done to a

member or ally.

       11.      As part of operations, the Hoovers held meetings in order to manage gang

business. Members discussed rules, organizational strategies, recruitment, intelligence on enemy

gangs, members in police custody, and seeking retribution against members previously kicked

out of the enterprise or who "snitched" to law enforcement.

       12.     The Hoovers used a wide variety of symbols to identify gang membership and to

distinguish themselves from others. For example, Hoover members wore or otherwise employed

the color orange as their gang marker. Hoover members also commonly wore clothing of

professional sports franchises who used orange as one of their team colors, such as the Houston

Astros, San Francisco Giants, and Baltimore Orioles. The Houston Astros' "H" inside a star

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logo was also a common emblem that Hoover members displayed on their clothing. Orange

bandanas were also commonly worn by Hoover members to signify that they were Hoover

members. Moreover, an assortment of tattoos was also used to identify Hoover members. These

included an "H" with a star, the letters "SF," and numbers, to include "74" and "107," depicting

different Hoover sets.

       13.     Hoovers also used a variety of words and numbers to identify themselves as

Hoover members and associates. The most common of these included the numbers 74, 107,

1074, 716, and the words "Groove," "Verz," "Groovin," "Westside Hoover Gang," "Bay Bay'z,"

a reference to Hoover 74 members, and "Selos," which is Swahili for "seven" and is a reference

to Hoover 107 members. Hoover members also used the term "HIP," or "Hoover in Peace," as a

show of respect for a deceased member.

       14.     Similarly, certain written language, both in the form of codes and distinctive

spelling, was also used to denote Hoover membership. Hoover members often replaced the letter

"o" with an "x" as a show of disrespect to Rollin' 60's Crips, a rival street gang. For example,

the word "Hoover" may be spelled as "Hxxver" or "H00VER." Hoovers will also raise their

middle finger towards rival gang signs, including the Woodlawn Park Bloods as a sign of

disrespect.

       15.     Hoover members used their hands and fingers to form signs as a means of

communication, commonly referred to as "throwing signs." Hoover members used these hand

signs to identify themselves as gang members and to challenge rival gang members or law

enforcement officers. One of the most commonly used Hoover hand signs involved a member

using his/her fingers to form the letter "H," representing "Hoover." Displaying "H" is done by

touching the thumb to the index and middle finger, while pointing those fingers toward the

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ground and closing the remaining digits. Another frequently used Hoover hand sign involved a

member using both hands to form an "H." This was done by pointing both thumbs up and both

pinkies down with the index fingers touching in the middle. Additionally, Hoover members

would form a " 7" by pointing the index finger down and extending the thumb. Hoover members

also formed a "4" by tucking the thumb and extending all four fingers. Hoover members also

used a hand sign that involved a member using his/her fingers to form the hand sign ofa rival

gang, then used his/her other hand to "flip off' the rival sign with his/her middle finger.

        16.    The Hoovers and other gangs in the Portland, Oregon area were involved in a

phenomenon called "Internet Gangbanging." Gang members, including Hoovers, in the Portland

posted gang related photos and videos on social media to tout their own gang and to disparage

rivals. The social media posts exacerbated tensions between the Hoovers and their rivals.

Hoovers post on social media showing Hoover members wearing Hoover related clothes and

making Hoover related gang signs in front ofrival gangs' areas, monuments and park signs.

       17.     At all times relevant to this Indictment, the Hoovers, including its leadership,

membership, and associates, constituted an "enterprise" as defined in Title 18, United States

Code, Sections 1961(4) and 1959(b)(2), that is, a group ofindividuals associated in fact, which

engaged in, and the activities ofwhich affected, interstate and foreign commerce. The Hoovers

enterprise constituted an ongoing organization whose members and associates functioned as a

continuing unit for a common purpose ofachieving the objectives ofthe Hoover enterprise.

                                    Purposes ofthe Enterprise

       18.     The purposes ofthe Hoover enterprise including its members and associates,

   included, but were not limited to, the following:



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                 a.     Enriching the members and associates of the enterprise through, among

other things, acts involving murder, assault, robbery, sex trafficking, and the distribution of

narcotics.

                 b.     Preserving and protecting the power, territory, and profits of the enterprise

through the use of intimidation, violence, threats of violence, robbery, assaults, and murder.

                 c.     Preventing and retaliating against acts of violence perpetrated by rivals

against the enterprise and its members.

                 d.     Keeping victims in fear of the enterprise and in fear of its members and

associates through threats of violence and violence.

                 e.    Keeping the reputation for being the most violent and feared gang in

Oregon.

                 f.    Promoting and enhancing the reputation and standing of the enterprise and

its members.

                                Manner and Means of the Enterprise

       19.       The manner and means by which the members and associates of the Hoover

enterprise conducted and participated in the conduct of the affairs of the enterprise included, but

were not limited to, the following:

                 a.    Members and associates of the enterprise and their associates have used,

attempted to use, and conspired to use violence with firearms, which affected interstate

commerce.

                 b.    Members and associates of the enterprise and their associates have

committed acts of violence, including acts involving murder, assault, robbery, and sex trafficking

(minors and through fraud, force and coercion).

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                 c.      Members and associates of the enterprise have promoted a climate of fear

through violence and threats of violence.

                 d.      Members and associates of the enterprise and their associates have used

and threatened to use physical violence against various individuals.

                 e.      Members and associates of the enterprise and their associates have

trafficked in controlled substances, firearms and prostitution.

         20.     At all times relevant to this Indictment, the Hoovers, the above-described

      enterprise, through its members and associates, engaged in racketeering activity, as defined

      in Title 18, United States Code, Sections 1959(b)(1) and 1961(1), that is:

                 a. Multiple acts involving:

                       (1)    murder, chargeable under O.R.S. §§ 163.095, 163.107, 163.115,

                              161.450, 161.405, and 161.155(2)(b); and

                       (2)    robbery, chargeable under O.R.S. §§ 164.405,164.415,

                              161.450, 161.405, and 16 l. l55(2)(b);

                 b. multiple acts indictable under:

                       (1)    18 U.S.C. § 1591 (relating to peonage, slavery and trafficking

                              in persons); and

                       (2)    18 U.S.C. § 1951 (relating to interference with commerce,

                              robbery, or extortion);

and

                 c. multiple offenses involving trafficking in controlled substances in violation of:

                       (3)    21 U.S.C. § 846 (Conspiracy to Distribute and Possess with

                              Intent to. Distribute Controlled Substances); and

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                     (4)       21 U.S.C. § 841 (Distribution and Possession with Intent to

                               Distribute Controlled Substances).

                                             COUNT 1
                                 (Murder in Aid of Racketeering)
                               (18 U.S.C. § 1959(a)(l) and 18 U.S.C. § 2)

       The allegations contained in Paragraphs One through Twenty of this Indictment are re­

alleged and incorporated by reference as though fully set forth herein.

               On or about December 11, 2020, in the District of Oregon, for the purpose of

maintaining and increasing position in the Hoovers, an enterprise engaged in racketeering

activity, the defendants, TAEZHON TYREIK KELLY, a/k/a "Young Tyckoon," a/k/a

"Y.T.," ANTHONY DEVION BAGSBY, a/k/a "Astro," a/k/a "Thing 1," COCOA

DALONTA TAPLIN, a/k/a "Menace," a/k/a "Thing2," and DELANE WILLIAM ROY,

a/k/a "Scrawny," and others known and unknown to the grand jury, while aiding and abetting

each other, intentionally murdered D.M., in violation of O.R.S. §§ 161.155(2)(b) (aid and abet),

and 163.l 15(1)(a) (murder).

       In violation of 18 U.S.C. §§ 1959(a)(l ) and 2.

                                         COUNT2
                (Using and Carrying a Firearm During a Crime of Violence)
                      (18 U.S.C. § 924(c)(l)(A)(iii) and 18 U.S.C. §2)

       On or about December 11, 2020, in the District of Oregon, the defendants, TAEZHON

TYREIK KELLY, a/k/a "Young Tyckoon," a/k/a "Y.T.," ANTHONY DEVION BAGSBY,

a/k/a "Astro," a/k/a "Thing 1," COCOA DALONTA TAPLIN, a/k/a "Menace," a/k/a

"Thing 2," and DELANE WILLIAM ROY, a/k/a "Scrawny," and others known and

unknown to the grand jury, while aiding and abetting each other, during and in relation to a

crime of violence for which each may be prosecuted in a court of the United States, namely, the

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Violent Crime in Aid of Racketeering alleged in Count 1 of this Indictment, did knowingly use

and carry a firearm, which was discharged.

       In violation of 18 U.S.C. §§ 924(c)(l)(A)(iii) and 2.

                                           COUNT3
                          (Causing Death Through Use of a Firearm)
                             (18 U.S.C. § 924(j) and 18 U.S.C. § 2)

       On or about December 11, 2020, in the District of Oregon, the defendants, TAEZHON

TYREIK KELLY, a/Ii/a "Young Tyckoon," a/k/a "Y.T.," ANTHONY DEVION BAGSBY,

a/k/a "Astro," a/k/a "Thing 1," COCOA DALONTA TAPLIN, a/k/a "Menace," a/k/a

"Thing 2," and DELANE WILLIAM ROY, a/k/a "Scrawny," and others known and

unknown to the Grand Jury, while aiding and abetting each other, in the course of a violation of

18 U.S.C. § 924(c), as alleged in Count 2 of this Indictment, did cause the death ofD.M. through

the use of a firearm, which killing is murder, as defined in 18 U.S.C. § 1111.

       In violation ofTitle 18, United States Code, Sections 924(j) and 2.

                               NOTICE OF SPECIAL FINDINGS
                                 (18 U.S.C. §§ 3591 and 3592)

       1.      The Grand Jury incorporates by reference and re-alleges the allegations contained

in Counts 1 and 3 of this Indictment. As to Counts 1 and 3 of this Indictment, defendant

TAEZHON TYREIK KELLY, a/k/a "Young Tyckoon," a/k/a "Y.T.," ANTHONY

DEVION BAGSBY, a/k/a "Astro," a/k/a "Thing 1," COCOA DALONTA TAPLIN, a/k/a

"Menace," a/k/a "Thing 2," and DELANE WILLIAM ROY, a/k/a "Scrawny,":

               a.     Were 18 years of age or older at the time of the offenses. [18 U.S.C. §

3591(a)].

               b.     Intentionally killed the victim, D.M. [18 U.S.C. § 359l(a)(2)(A)].


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                c.     Intentionally inflicted serious bodily injury that resulted in the death of the

 victim, D.M. [18 U.S.C. § 3591(a)(2)(B)].

                d.     Intentionally participated in an act, contemplating that the life of a person

would be taken and intending that the lethal force would be used in connection with a person,

other than one of the participants in the offense, and the victim, D.M., died as a direct result of

the acts. [18 U.S.C. § 3591(a)(2)(C)].

                e.     Intentionally and specifically engaged in an act of violence, knowing that

the act created a grave risk of death to a person, other than one of the participants in the offense,

such that participation in the act constituted a reckless disregard for human life and the victim,

D.M., died as a direct result of the act. [18 U.S.C. § 3591(a)(2)(D )].

                f.     Committed the offense after substantial planning and premeditation to

cause the death of a person. [18 U.S.C. § 3592(c)(9)].

Dated: March    S-, 2 024                              A TRUE BILL.



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Presented by:

NATALIE K. WIGHT




�-                  ___;:
LEAHK.BOLSTAD ,-o-s=B-#-os_2_03_9__
Assistant United States Attorney



LEWIS
 �      S. BU�              '-,_.
                     RiosB#082781
Assistant United States Attorney


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